                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-187

                                        No. COA20-304

                                       Filed 4 May 2021

     Wake County, No. 15-CVS-5836

     TOWN OF APEX, Plaintiff,

                   v.

     BEVERLY L. RUBIN, Defendant.


             Appeal by Defendant from orders entered 21 January 2020 by Judge G. Bryan

     Collins in Wake County Superior Court. Heard in the Court of Appeals 24 February

     2021.


             Nexsen Pruet, PLLC, by David P. Ferrell and Norman W. Shearin, for Plaintiff-
             Appellee.

             Fox Rothschild LLP, by Matthew Nis Leerberg and Troy D. Shelton, and
             Howard, Stallings, From, Atkins, Angell &amp; Davis, P.A., by Kenneth C. Haywood
             and B. Joan Davis, for Defendant-Appellant.

             Johnston, Allison &amp; Hord, P.A., by Susanne Todd and Maisha M. Blakeney,
             and Sever Storey, LLP, by Shiloh Daum, for amicus curiae North Carolina
             Advocates for Justice.

             John Locke Foundation, by Jonathan D. Guze, amicus curiae.


             INMAN, Judge.


¶1           Our Federal and State Constitutions protect us, our homes, and our lands from

     unrestrained government intrusion. Police cannot roam about our private property
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     unfettered. U.S. Const. amend. IV; N.C. Const. art. I § 20. The military cannot

     forcibly occupy our homes during peacetime. U.S. Const. amend. III; N.C. Const. art.

     I § 31. And, most pertinent to this appeal, the State cannot take our property without

     both a public purpose and payment of just compensation. U.S. Const. amend. V; N.C.

     Const. art. I § 19.

¶2          Plaintiff-Appellee Town of Apex (“the Town”) asks this Court to uphold the

     Town’s continuing intrusion onto the land of a private citizen through a circuitous

     and strained application of North Carolina law on eminent domain and inverse

     condemnations.        The Town’s position, in essence and when taken to its logical

     conclusion, is as follows: (1) if a municipality occupies and takes a person’s private

     property for no public purpose whatsoever, that private landowner can do nothing to

     physically recover her land or oust the municipality; (2) if the encroachment

     decreases the property’s value, then the landowner’s sole remedy is compensation by

     inverse condemnation; and (3) in all other instances, a landowner is powerless to

     recover or otherwise vindicate her constitutional rights. This is not the law, nor can

     it be consistent with our Federal and State Constitutions.

¶3          Defendant-Appellant Beverly L. Rubin (“Ms. Rubin”) appeals from orders

     denying her motion to enforce a judgment in her favor in a direct condemnation action

     and granting the Town’s motion to be relieved from that judgment. She asserts that,

     having successfully recovered title to her land after the Town’s unlawful taking, she
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     is entitled to repossess her property free of a sewer pipe installed by the Town. We

     agree with Ms. Rubin that mandatory injunctive relief may be available to her, but

     hold that it is not available in the direct condemnation action that was taken to final

     judgment without a request for or adjudication concerning the availability of

     injunctive relief. Instead, she may pursue mandatory injunctive relief against the

     Town to remedy its continuing encroachment through a claim for trespass.

                     I.   FACTUAL AND PROCEDURAL HISTORY

¶4         Many of the facts underlying this appeal were summarized in our prior

     decision, Town of Apex v. Rubin, 262 N.C. App. 148, 821 S.E.2d 613 (2018). However,

     because we now address post-judgment motions that were entered after that decision,

     a brief recitation of the factual and procedural history is warranted.

     1. The Direct Condemnation Action and Installation of the Sewer Pipe

¶5         Ms. Rubin owns a tract of land in rural Wake County. In 2012 and 2013, a

     local real estate developer, Brad Zadell (“Mr. Zadell”), purchased several parcels to

     the east and west of Ms. Rubin’s land with the intention of improving and selling

     them for residential development. Rubin, 262 N.C. App. at 149, 821 S.E.2d at 614.

     The western tract, known as Arcadia West, received sewer service from the Town,

     while the eastern tract, Riley’s Pond, had no such access. Id. Mr. Zadell asked Ms.

     Rubin if she would grant him an easement to connect Riley’s Pond to the Town’s sewer

     service. Id. Ms. Rubin declined. Id.                                     TOWN OF APEX V. RUBIN

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¶6         Undeterred, Mr. Zadell turned to the Town’s utilities director, asking for the

     Town to take the sewer easement by eminent domain.1 Id. In 2015, The Town and

     Mr. Zadell agreed that: (1) the Town would pursue a direct condemnation action to

     seize a sewer easement across Ms. Rubin’s property; and (2) Mr. Zadell would cover

     any and all costs incurred by the Town in the exercise of its eminent domain powers.

     Id. at 150, 821 S.E.2d at 615. A few weeks after entering into the agreement, Mr.

     Zadell contracted to sell Riley’s Pond at a $2.5 million profit. Id.
¶7         In March 2015, the Town council voted to pursue a direct condemnation action

     for a sewer line easement across Mr. Rubin’s land.              Id.    It filed the direct

     condemnation action the following month and used its statutory “quick-take” powers2

     to obtain immediate title to a 40’ easement running across Ms. Rubin’s property for

     the installation and maintenance of sewer lines “above, in, on, over, above, [sic] under,

     through, and across” the easement area. Ms. Rubin timely filed an answer contesting

     the taking as illegal and unconstitutional, but she did not pursue any injunctive relief

     to restrain the Town from constructing the sewer line.




           1 The Town is authorized by its charter to exercise the same eminent domain powers

     granted to the North Carolina Department of Transportation found in N.C. Gen. Stat. §§ 136-
     103, et seq. (2019).
             2 Quick-take powers grant a condemnor “right to immediate possession” of the

     condemned property “[u]pon the filing of the complaint and the declaration of taking and
     deposit in court[.]” N.C. Gen. Stat. § 136-104.
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¶8         After Ms. Rubin filed her answer, and while her challenge to the condemnation

     action was pending, the Town installed a sewer line within the 40’ easement. The

     trial court later resolved Ms. Rubin’s challenge to the condemnation and entered a

     judgment (the “Judgment”) concluding the taking was not for a public purpose, even

     though the sewer line would serve the Riley’s Pond subdivision. The Judgment

     declared the Town’s “claim to [Ms. Rubin’s] property by Eminent Domain . . . null and

     void" and dismissed the direct condemnation action.         The Judgment was left

     undisturbed following a lengthy series of post-judgment motions and appeals. See id.

     at 153, 821 S.E.2d at 616-17 (2018), temp. stay dissolved, disc. rev. denied, 372 N.C.

     107, 825 S.E.2d 253 (2019).

     2. Litigation Following the First Appeal

¶9         After this Court’s decision in the prior appeal, Ms. Rubin filed a combined

     motion and petition for writ of mandamus asking the trial court to compel the Town

     to remove the sewer line. Ms. Rubin sought this relief under several theories,

     including: (1) N.C. Gen. Stat. § 136-114 (2019), which gives trial courts in direct

     condemnation actions “the power to make all the necessary orders and rules of

     procedure necessary to carry into effect the object and intent of this Chapter[;]” (2)

     N.C. Gen. Stat. § 1-302 (2019) and Rule 70 of the North Carolina Rules of Civil

     Procedure, which collectively authorize trial courts to compel a party to comply with

     a judgment directing the conveyance of land; (3) by writ of mandamus to compel the
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       Town to perform the act of removing the pipes; and (4) through the trial court’s

       inherent powers to enforce its own orders.3

¶ 10          The Town responded to Ms. Rubin’s motion in two ways. First, it filed a motion

       for relief in the direct condemnation action on the basis that the Judgment voided the

       action ab initio, extinguished the trial court’s jurisdiction, and rendered the

       installation of the sewer line a separate inverse condemnation. Second, the Town

       filed a new declaratory judgment lawsuit seeking to declare the sewer pipe

       installation an easement by inverse condemnation, limit Ms. Rubin’s relief to that

       singular remedy, and enjoin her from removing the sewer line.

¶ 11          The trial court heard motions in the two actions jointly and ruled for the Town

       in each. In the direct condemnation action, the trial court denied Ms. Rubin’s motion

       to enforce the Judgment, denied Ms. Rubin’s petition for writ of mandamus, and

       granted the Town’s motion for relief from the Judgment. In the declaratory judgment

       action, the trial court denied a motion to dismiss filed by Ms. Rubin and entered a




              3 Ms. Rubin’s motion asserted additional bases for injunctive relief. We do not address
       those additional bases because Ms. Rubin has not argued them in her briefs on appeal. See
       N.C. R. App. P. 28(a) (2021) (“Issues not presented and discussed in a party’s brief are deemed
       abandoned.”).
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       preliminary injunction prohibiting Ms. Rubin from disturbing the sewer line. This

       decision addresses only the direct condemnation action.4

       3. The Order Denying Ms. Rubin Injunctive Relief

¶ 12         In the first of two orders in the direct condemnation action, the trial court

       denied Ms. Rubin’s motion for injunctive relief, based in part on the following facts:

                    4. [Ms. Rubin] did not plead any claim for relief entitling
                    her to the relief requested in the Motion. [Ms. Rubin] could
                    have requested the Court grant her injunctive relief before
                    the sewer pipe was installed under her property, but she
                    did not do so. [Ms. Rubin] did not request injunctive relief
                    from the Court prior to the installation of the sewer line to
                    prevent construction . . . and did not request injunctive
                    relief to close or remove the sewer pipe at the all other
                    issues hearing before the Court.

                    5. Although the sewer pipe had been installed for
                    approximately one year prior to the all issues hearing . . .
                    the Judgment does not address the actual installation,
                    maintenance and use of the sewer pipe under [Ms. Rubin]’s
                    property and does not require removal
                    ....

                    11. On or about 27 July 2015 the Town constructed an
                    underground sewer line 18 feet under the entire width of a
                    narrow portion of Rubin’s property.

                    ....

                    14. The sewer line was installed prior to the entry of the


             4 The declaratory judgment action is discussed in greater detail in Town of Apex v.

       Rubin, No. COA20-305, ___ N.C. App. ___, 2021-NCCOA-___ (filed 4 May 2021), filed
       contemporaneously with this opinion.
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                      Judgment, remains in place and in use, and serves
                      approximately fifty (50) residential homes and/or lots in
                      the Riley’s Pond Subdivision . . . .

¶ 13          The trial court also made several findings and conclusions of law5 interpreting

       the effect of the Judgment:


                      2. The Judgment does not order the town to do any of the
                      acts specified in Rule 70 of the Rules of Civil Procedure.

                      3. The Judgment does not require the return or delivery of
                      real property as per N.C. Gen. Stat. § 1-302.

       The trial court also entered conclusions of law rejecting Ms. Rubin’s arguments for

       injunctive relief and concluding that the Town had taken an easement by inverse

       condemnation:

                      1. The Judgment does not afford to [Ms. Rubin] any of the
                      relief which she seeks in the Motion. State Highway
                      Commission v. Thornton, 271 N.C. 227, 156 S.E.2d 248                      (1967).

              5 The parties dispute whether the trial court’s interpretation of the Judgment is a

       question of law or fact. Determinations as to the “legal effect of [an] order” are conclusions
       of law, which we review de novo. Delozier v. Bird, 125 N.C. 493, 34 S.E.2d 643, 643 (1899);
       see also N.C. Farm Bureau Mut. Ins. Co. v. Cully’s Motorcross Park, Inc., 366 N.C. 505, 512,
       742 S.E.2d 781, 786 (2013) (“[C]onclusions of law are reviewed de novo.” (citation omitted)).
       To the extent the trial court’s particular interpretations require application of legal principles
       to the facts, they are mixed questions of law and fact. See, e.g., Brown v. Charlotte-
       Mecklenburg Bd. of Ed., 269 N.C. 667, 670, 153 S.E.2d 335, 338 (1967) (holding mixed
       questions of law and fact arise when “[t]he determination . . . requires an application of
       principles of law to the determination of facts”). We are not bound by the labels given these
       determinations by the trial court in conducting our analysis. In re David A. Simpson, P.C.,
       211 N.C. App. 483, 487-88, 711 S.E.2d 165, 169 (2011). The standards of review we apply to
       specific aspects of the trial court’s orders are discussed below in the Analysis Section of this
       opinion.
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....

7. A writ of mandamus is inappropriate because [Ms.
Rubin] has failed to show that she has a clear legal right to
demand removal of the sewer line and that the Town is
under a plainly defined, positive legal duty to remove it.
Mandamus is appropriate to compel the performance of a
ministerial act but not to establish a legal right. Meares v.
Town of Beaufort, 193 N.C. App. 49, 667 S.E.2d 224 (2008);
Mears v. Board of Education, 214 N.C. 89, 91, 197 S.E.2d
752, 753 (1938).

8. The Court has the inherent authority to enforce its own
orders. However, the Court is not authorized and refuses
to expand this Judgment beyond its terms, read in
additional terms, and/or order mandatory injunctive relief
that [Ms. Rubin] did not request or plead. State Highway
Commission v. Thornton, 271 N.C. 227, 156 S.E.2d 248(1967).

9. Regardless of the Court’s authority, the Court does not
read the Judgment the way [Ms. Rubin] suggests and the
Court does not agree the Judgment expressly or implicitly
requires removal of the sewer line. [Ms. Rubin] could have
requested the Court grant her injunctive relief before the
sewer pipe was installed under her property but she did not
do so. The Court will not now require the Town to remove
the sewer line.

....

11. Given the Court’s dismissal of the condemnation
complaint as null and void, the installation of the
underground sewer line by the Town on 27 July 2015 was
a taking of [Ms. Rubin]’s property by the Town that was
not subject to a condemnation complaint, and thus was an
inverse condemnation of an underground sewer
easement. . . .
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                   13. [Ms. Rubin]’s allegations that the condemnation
                   complaint resulted in a constitutional violation and [Ms.
                   Rubin]’s comments about fairness do not support or provide
                   a basis for the granting of the Motion. Further, the
                   Supreme Court in [Wilkie v. City of Boiling Springs, 370
                   N.C. 540, 809 S.E.2d 853 (2018)], in spite of addressing
                   constitutional issues with condemnations, held that a
                   landowner has a claim for just compensation regardless of
                   whether a taking is for a public or private purpose. The
                   Supreme Court did not state that the landowner had a
                   claim for permanent injunctive relief. Where there is an
                   adequate remedy at law, injunctive relief, which is what
                   [Ms. Rubin] seeks, will not be granted.

                   14. [Ms. Rubin] has an adequate remedy at law—i.e.
                   compensation for inverse condemnation. . . . The Town’s
                   pending declaratory judgment action . . . provides [Ms.
                   Rubin] an avenue to pursue her remedy at law for the
                   inverse condemnation of the sewer easement—
                   compensation.

                   15. As such, the Court declines to enforce the Judgment as
                   [Ms. Rubin] requests and declines to issue a writ of
                   mandamus.

       4. The Order Granting Relief from Judgment

¶ 14         The trial court’s second order in the direct condemnation action granted the

       Town’s motion for relief from the Judgment. In that order, the trial court made

       findings of fact and conclusions of law consistent with several of those made in the

       order denying Ms. Rubin’s motion to enforce the Judgment, including conclusions

       that an inverse condemnation had occurred and Ms. Rubin’s only avenue for relief

       was an inverse condemnation claim for money damages. The second order added
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several conclusions of law explaining why the Town was entitled to relief from the

Judgment:

            3. It is just and equitable to allow the Town relief from the
            prospective application of the Judgment as it relates to the
            underground sewer pipe and corresponding easement.

            4. [Ms. Rubin’s] failure to seek and obtain injunctive relief
            prior to the construction of the sewer pipe and the Town’s
            acquisition of the sewer easement by inverse condemnation
            renders the Judgment moot as to the installation of the
            sewer pipe and corresponding easement. . . .

            5.   The Judgment’s dismissal of the condemnation
            proceeding had no effect on the rights inversely taken. . . .

            6. At the time of entry of the Judgment, the question of
            whether the Town had the authority to condemn the sewer
            easement described in the original condemnation action
            was moot—specifically as to the installation of the sewer
            pipe and inversely condemned easement.

            7. Since the Judgment against the Town is moot, the Court
            grants the Town relief from the prospective application of
            the Judgment as it relates to the existence of the
            underground sewer pipe and corresponding easement on
            [Ms. Rubin’s] property.

            8. The Judgment is void as it relates to the installed sewer
            pipe and corresponding easement because the trial court
            did not have jurisdiction over [these] issues at the time of
            the entry of the Judgment. The issue of whether the Town
            could maintain a sewer line across [Ms. Rubin’s] property
            no longer existed at the time that Judgment was entered.
            [Ms. Rubin] did not seek an injunction prior to construction
            and the Town had already constructed the sewer
            easement. . . .
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9. Further the Judgment found the original condemnation
complaint null and void and dismissed it; it is as if it was
never filed. Therefore, the Town physically invaded [Ms.
Rubin’s] property to construct a public sewer line on 27
July 2015 without a condemnation action—which under
North Carolina law is an inverse taking.

10. Prior to the entry of the Judgment on 18 October 2016,
the Town had already inversely taken and owned the sewer
easement across [Ms. Rubin’s] property on 27 July 2015.
Since the sewer easement had been inversely taken prior
to the entry of the Judgment, the court lacked subject
matter jurisdiction to enter the Judgment to the extent the
Judgment is interpreted to negatively affect the installed
sewer pipe and corresponding easement.

11. The absence of jurisdiction means the Judgment is
void. A void judgment is a legal nullity. . . .

12. Since the Judgment against the Town is void as to [Ms.
Rubin’s] challenge to the installed sewer pine and
corresponding easement, the Town should be granted the
prospective relief from the Judgment pursuant to Rule
60(b)(4).

13. In addition, the Town is given prospective relief from
the judgment pursuant to Rule 60(b)(6), as Rule 60(b)(6)
may be properly employed to grant relief from a judgment
affected by a subsequent change in the law. . . .

14. In the Judgment, the Court stated that the paramount
reason for the taking of the sewer easement described in
the complaint was for a private purpose and the public’s
interest was merely incidental. However, prior to entry of
judgment, the Town had already constructed the sewer
pipe and acquired the sewer easement by inverse
condemnation.

15. In 2018, the North Carolina Supreme Court reversed
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                    the Court of Appeals and ruled that public use or purpose
                    is not an element of an inverse condemnation claim. . . .
                    Rule 60(b)(6) may be properly employed to grant relief from
                    a judgment affected by a subsequent change in the law. . . .

                    16. As a result of the Wilkie decision from the Supreme
                    Court, the legal basis for the Judgment no longer exists to
                    the extent the Judgment is interpreted to negatively affect
                    the installed sewer pipe and corresponding easement. [Ms.
                    Rubin] alleges that the Town took the sewer easement on
                    her property for a private purpose and thus lacked
                    authority to take her property. However, public purpose is
                    not an element of inverse condemnation. Moreover, [the]
                    Town acquired ownership of the sewer easement on 27 July
                    2015 prior to entry of the Judgment. All easement rights
                    in the property transferred to the Town and were owned by
                    it prior to entry of Judgment. Consequently, [the] Town
                    should be granted relief from Judgment.

       Ms. Rubin timely noticed an appeal from both orders. Following oral argument, both

       parties filed supplemental briefs with this Court.6

                                       II.     ANALYSIS

¶ 15         Ms. Rubin argues the trial court erred in concluding: (1) the installation of the

       pipe resulted in an inverse condemnation; (2) the inverse condemnation rendered the

       Judgment moot and void; (3) injunctive relief, either in the form of a writ of

       mandamus or otherwise, was unavailable to enforce the Judgment; and (4) inverse




             6 Ms. Rubin submitted her supplemental arguments through a motion for leave to

       submit a supplemental response, and the Town provided its additional briefing in its
       response to Ms. Rubin’s motion. We allow Ms. Rubin’s motion and consider these
       supplemental materials submitted by the parties.
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       condemnation is the only available remedy for the Town’s constitutional violation.

       We address the applicable standard of review before addressing each argument in

       turn.

       1. Standard of Review

¶ 16           Findings of fact, when left unchallenged on appeal or supported by competent

       record evidence, are binding on this Court. Bell v. Mozley, 216 N.C. App. 540, 543,

       716 S.E.2d 868, 871 (2011). Conclusions of law are generally reviewable de novo,

       Sisk v. Transylvania Cmty. Hosp., Inc., 364 N.C. 172, 180, 695 S.E.2d 429, 435 (2010),

       and mixed questions of law and fact are fully reviewable on appeal, Hinton v. Hinton,

       250 N.C. App. 340, 347, 792 S.E.2d 202, 206 (2016). However, when the trial court

       reaches a legal conclusion on whether to exercise its discretionary inherent authority,

       “we need determine only whether they are the result of a reasoned decision.” Sisk,

       364 N.C. at 435, 695 S.E.2d at 180 (citations omitted); see also In re Cranor, 247 N.C.

       App. 565, 573, 786 S.E.2d 379, 385 (2016) (“The proper standard of review for acts by

       the trial court in the exercise of its inherent authority is abuse of discretion.” (citation

       omitted)). “When discretionary rulings are made under a misapprehension of the

       law, this may constitute an abuse of discretion,” Gailey v. Triangle Billiards &amp; Blues

       Club, Inc., 179 N.C. App. 848, 851, 635 S.E.2d 482, 484 (2006) (citations omitted), and

       “the orders or rulings of the trial judge may be vacated and the case remanded for

       further proceedings, modified or reversed, as the rights of the parties and the
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       applicable law may require,” State v. Cornell, 281 N.C. 20, 30, 187 S.E.2d 768, 774
       (1972) (citations omitted).

       2. Installation of the Pipe Did Not Vest the Town with Title as a Matter of Law

¶ 17          In both orders, the trial court concluded that the installation of the pipe

       resulted in an inverse condemnation of a sewer easement on Ms. Rubin’s property

       independent of the direct condemnation action. We agree with Ms. Rubin that the

       trial court erred in this respect.

¶ 18          Our Supreme Court has recently described inverse condemnations as follows:

                     “Inverse condemnation” is a term often used to designate a
                     cause of action against a governmental defendant to recover
                     the value of property which has been taken in fact by the
                     governmental defendant, even though no formal exercise of
                     the power of eminent domain has been attempted by the
                     taking agency.

       Wilkie v. City of Boiling Spring Lakes, 370 N.C. 540, 552, 809 S.E.2d 853, 861 (2018)

       (cleaned up) (emphasis added).7 This general description accords with the right of

       action afforded to landowners by statute. N.C. Gen. Stat. § 136-111 authorizes

       inverse condemnation suits by landowners against the Department of Transportation

       when “land or a compensable interest therein has been taken by . . . the Department



              7 Consistent with our Supreme Court’s current practice, see, e.g., In re G.G.M., ___

       N.C. ___, ___, 2021-NCSC-25, ¶ 22 (2021), we use the parenthetical “(cleaned up)” to denote
       removal of extraneous punctuation and citations without alteration of the quoted passage’s
       meaning. See generally Jack Metzler, Cleaning Up Quotations, 18 J. Appellate Prac. &amp;
       Process 143 (2017) (discussing the use and purposes of the “cleaned up” parenthetical).
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       of Transportation and no complaint and declaration of taking has been filed.” So

       inverse condemnation is a claim assertable by landowners against a government

       entity “which forces a governmental body to exercise its power of condemnation, even

       though it may have no desire to do so.” Hoyle v. City of Charlotte, 276 N.C. 292, 302,

       172 S.E.2d 1, 8 (1970) (quotation marks and citation omitted).

¶ 19         Although caselaw uniformly establishes that inverse condemnation claims

       inure in favor of landowners against government entities that have declined to pursue

       direct condemnation, the Town maintains that its installation of the sewer pipe—and

       subsequent defeat in the direct condemnation action—mean that the Town can

       compel a determination—against Ms. Rubin’s express interest—that it took title to a

       sewer easement by inverse condemnation. The Town specifically asserts that: (1) the

       Judgment dismissing the condemnation action voided the condemnation ab initio;

       and (2) the installation of the sewer pipe therefore amounted to a separate intrusion

       vesting title in the Town through inverse condemnation. The Town’s argument is not

       supported by the facts or the law.

¶ 20         Upon filing its direct condemnation action, the Town took legal title to a 40’-

       wide sewer easement across Ms. Rubin’s property through a statutory “quick take”

       provision. N.C. Gen. Stat. § 136-104 provides that title to property, “together with

       the right to immediate possession” of the land, vests in the condemnor upon the filing

       of its complaint, the declaration of taking, and deposit of a bond with the trial court.
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       Title to the easement at issue in this case included the right “to construct . . . a system

       of . . . pipes . . . under, through, and across” the easement area.

¶ 21          The Town entered onto Ms. Rubin’s property and installed a sewer line within

       the 40’ strip under the rights granted to it by the easement obtained at the outset of

       the direct condemnation action.8 That the Judgment would later decree the Town’s

       “claim to [Ms. Rubin]’s property by Eminent Domain . . . null and void” does not

       obviate, as a factual matter, that the Town installed the pipe under the “quick take”

       title granted to the Town in the direct condemnation action.

¶ 22          As for whether the installation of the sewer pipe and the Judgment’s decree

       vested the Town with title by inverse condemnation as a matter of law, two pertinent

       cases, State Highway Comm’n v. Thornton, 271 N.C. 227, 156 S.E.2d 248 (1967), and

       Town of Midland v. Morris, 209 N.C. App. 208, 704 S.E.2d 329 (2011), preclude a

       holding in favor of the Town on this issue.

¶ 23          In   Thornton,    the North Carolina State            Highway      Commission      (the

       “Commission”) filed a direct condemnation action to construct a roadway across land

       belonging to the Thorntons. 271 N.C. at 229, 156 S.E.2d at 250. The Commission

       began construction five days after filing its action and, by the time the Thorntons



              8Indeed, the record includes an affidavit from the Town’s assistant manager and
       former utilities director stating that the direct condemnation action conveyed title to the 40’
       easement for completion of a “Gravity Sewer Project” and that the Gravity Sewer Project was
       completed through installation of the sewer pipe at issue here.
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filed their answer challenging the taking as for a non-public purpose, construction

was 96 percent complete. Id. at 230, 156 S.E.2d at 251. The matter proceeded to trial

after the road was entirely finished, and the trial court entered a judgment in favor

of the Thorntons declaring the taking as not for a public purpose. Id. at 231-32, 156

S.E.2d at 251-52. On appeal to the Supreme Court, the Commission contended that

the construction of the road precluded the Thorntons from protesting the taking. Id.

at 237, 156 S.E.2d at 256. Though the Supreme Court ultimately reversed the trial

court and upheld the taking as for a public purpose, it did so only after rejecting this

argument by the Commission:

             Even if the Commission now finds itself embarrassed by its
             having constructed the road prematurely, upon its own
             assumption that the defendants would not assert a defense
             which the [direct condemnation] statute authorizes (i.e.,
             the Commission’s lack of power to condemn the land), the
             Commission may not assert such embarrassment as a bar
             to this right of the defendants. The Commission may not,
             by precipitate entry and construction, enlarge its own
             powers of condemnation . . . .

Id. (emphasis added). The Supreme Court also plainly held that the Thorntons were

“not estopped to assert that the land in question still belongs to them, free of any right

of way across it[,]” id. at 238, 136 S.E.2d at 257 (emphasis added), and, in the event

they prevailed, could assert “whatever rights they may have against those who have

trespassed upon their land and propose to continue to do so.” Id. at 240, 156 S.E.2d

at 258.   Thornton establishes that completion of a project subject to a direct
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       condemnation action does not preclude a return of title—free and clear of any interest

       held by the State—to the prevailing landowner.

¶ 24          This Court reached a similar result in Midland, when the Town of Midland

       filed a direct condemnation action to construct a natural gas pipeline across private

       property. Midland, 209 N.C. App. at 211-13, 704 S.E.2d at 333-34. The private

       landowners argued the pipeline was not for a public purpose and moved for a

       preliminary injunction. Id. at 213, 704 S.E.2d at 334. The trial court denied the

       motion for a preliminary injunction and granted summary judgment for Midland. Id.
       Pending the property owners’ appeal to this Court, Midland completed the pipeline

       and argued that the appeal was moot because construction was complete. Id. We

       disagreed, holding that “if this Court finds in their favor, [the] [p]roperty [o]wners

       will be entitled to relief . . . in the form of return of title to the land.” Id. at 213-14,

       704 S.E.2d at 334 (citing Thornton, 271 N.C. at 241, 156 S.E.2d at 259) (additional

       citations omitted). We further explained:

                     We are wholly unpersuaded by Midland’s argument that,
                     even where a city flagrantly violates the statutes governing
                     eminent domain, that city can obtain permanent title to the
                     land by fulfilling the purpose of a condemnation before
                     final judgment on the validity of condemnation is rendered.

       Id. at 214, 704 S.E.2d at 335.

¶ 25          Both Thornton and Midland establish that a government body cannot take title

       to private property for a non-public purpose simply by filing a direct condemnation
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       action and completing the construction project. In this case, the Town’s position that

       it took title to a sewer easement by inverse condemnation through construction of the

       sewer pipe during the pendency of the direct condemnation action is irreconcilable

       with Thornton’s prohibition against the enlargement of the government’s

       condemnation powers “by precipitate entry and construction.” 271 N.C. at 237, 156

       S.E.2d at 256. It also conflicts with this Court’s holding in Midland that title reverts

       to the landowner after a successful challenge to a condemnation action irrespective

       of whether the project was completed, as a “city [cannot] obtain permanent title to

       the land by fulfilling the purpose of a condemnation before final judgment . . . .” 209

       N.C. App. at 214, 704 S.E.2d at 335. We therefore hold the trial court erred in its

       conclusions of law, found throughout both orders, establishing that the Town took an

       easement by inverse condemnation when it completed the installation of the sewer

       pipe across Ms. Rubin’s property.

¶ 26         We are also unpersuaded by the Town’s argument that Wilkie supports the

       trial court’s conclusions to the contrary. That decision is distinguishable for at least

       three reasons. First, Wilkie involved an inverse condemnation claim brought by the

       landowners, i.e., the parties with the right to bring an inverse condemnation claim

       against the government. 370 N.C. at 552, 809 S.E.2d at 861-62; see also N.C. Gen.

       Stat. § 136-111 (2019) (authorizing a party “whose land . . . has been taken” to file a

       statutory inverse condemnation claim); Ferrell v. Dep’t of Transp., 104 N.C. App. 42,
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       46, 407 S.E.2d 601, 604 (1991) (observing that “property owners have a constitutional

       right to just compensation for takings” (citation omitted) (emphasis added)). Second,

       Wilkie did not involve the completion of a project subject to a disputed direct

       condemnation, as occurred in both Thornton and Midland. Lastly, though Wilkie

       held that landowners do not need to show that the taking was for a public purpose to

       prevail on an inverse condemnation claim, it did so in part because the public purpose

       requirement serves as a shield to protect the landowner from government intrusion

       rather than as a sword to cut away private property rights. 370 N.C. at 552-53, 809

       S.E.2d at 862. To adopt the Town’s interpretation of Wilkie would weaponize that

       decision and deprive private property owners of the public purpose protection. This

       we will not do.

¶ 27         The Town’s theory of the law would also open the door to numerous

       constitutional harms. For example, under the Town’s theory, a municipality could

       pursue a direct condemnation action to pave a landowner’s gravel driveway for no

       public purpose whatsoever, even if the landowner, in the exercise of his private

       property rights and out of a personal preference for gravel, had never sought to

       increase the value of his lot by paving the driveway. Then suppose, akin to Thornton,

       the municipality paved the landowner’s driveway before the landowner filed an

       answer. If the municipality voluntarily dismissed its condemnation action or lost on

       the merits at trial, the theory that inverse condemnation damages were the property
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       owner’s sole remedy would preclude relief for the municipality’s flagrant violation of

       the landowner’s constitutional rights, as an inverse condemnation action must show

       both an intrusion and “that the interference caused a decrease in the fair market

       value of [the property owner’s] land as a whole.” Kirby v. N.C. Dep’t of Transp., 368

       N.C. 847, 856, 786 S.E.2d 919, 926 (2016). We do not believe the law of inverse

       condemnation can be used to facilitate such an abuse of the government’s eminent

       domain power.

       3. The Judgment Is Not Moot

¶ 28         We further hold that the trial court erred in concluding the Judgment is moot.

       The trial court reached this conclusion in part on the basis that the Town took title

       to the easement by inverse condemnation. As explained supra, we hold that no such

       permanent vesting of title in the Town has occurred. If the completion of the pipeline

       in Midland did not preclude a return of title upon a final determination that the direct

       condemnation was not pursued for a public purpose, 209 N.C. App. at 213-14, 704

       S.E.2d at 334, the Town’s completion of the sewer line cannot moot Ms. Rubin’s

       judgment to that effect.

       4. The Judgment is Not Void

¶ 29         The trial court also erred in concluding that the Judgment was void “as it

       relates to the installed sewer pipe and corresponding easement because the trial court

       did not have jurisdiction over these[] issues at the time of the entry of the Judgment.”
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       The trial court premised this legal conclusion on its erroneous conclusion that an

       inverse condemnation had already occurred. As we have explained, the Town’s direct

       condemnation action and installation of the sewer pipe did not automatically vest it

       with title to an easement by inverse condemnation after the trial court determined

       that the taking was not for a public purpose, and Ms. Rubin is entitled to pursue relief

       despite completion of the project. See Thornton, 271 N.C. at 238, 156 S.E.2d at 257;

       Midland, 209 N.C. App. at 213-14, 704 S.E.2d at 334.

¶ 30         During the direct condemnation action, The Town maintained that it had

       installed the pipe pursuant to the easement obtained through its “quick take” powers.

       The trial court, in resolving the dispute raised by the direct condemnation complaint

       and Ms. Rubin’s answer contesting it, therefore had jurisdiction to determine whether

       the easement taken by the Town constituted a lawful taking for a public purpose

       irrespective of the installation of the sewer pipe. The Judgment’s resolution of that

       issue in favor of Ms. Rubin and against the Town did not divest the trial court of

       jurisdiction to enforce the judgment. See, e.g., Wildcatt v. Smith, 69 N.C. App. 1, 11,

       316 S.E.2d 870, 877 (1984) (“It is . . . true that while a court loses jurisdiction over a

       cause after it renders a final decree, it retains jurisdiction to correct or enforce its

       judgment.” (citations omitted)). We hold that the Judgment, contrary to the Town’s

       claim that it “is void as to Rubin’s ability to contest the installed sewer line and

       corresponding easement,” was not rendered void in any respect by the installation of
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       the sewer line. As our Supreme Court held in Thornton, Ms. Rubin is “not estopped

       to assert that the land in question still belongs to [her], free of any right of way across

       it,” 271 N.C. at 238, 156 S.E.2d at 257, and she may seek to vindicate “whatever rights

       [she] may have against those who have trespassed upon [her] land and propose to

       continue to do so,” id. at 240, 156 S.E.2d at 258, despite the sewer pipe’s construction.

¶ 31          Because the Judgment was neither moot nor void and the Town has not taken

       title by inverse condemnation, we reverse the trial court’s order granting the Town

       relief from the Judgment.

       5. The Effect of the Judgment

¶ 32          We next address what effect the Judgment has and whether it affords Ms.

       Rubin a right to obtain previously unpled mandatory injunctive relief as a matter of

       law. We hold, following Thornton and Midtown, that the Judgment reverted title to

       Ms. Rubin in fee, restoring to her exclusive rights in the tract and divesting the Town

       of any legal title or lawful claim to encroach on it. See Thornton, 271 N.C. at 238, 156

       S.E.2d at 257 (“The [Thorntons] are not estopped to assert that the land in question

       still belongs to them, free of any right of way across it.”); Midland, 209 N.C. App. at

       213-14, 704 S.E.2d at 334 (“[I]f this Court finds in their favor, [the] [p]roperty

       [o]wners will be entitled to relief . . . in the form of return of title to the land.”).

¶ 33          But because Ms. Rubin did not seek mandatory injunctive relief in the direct

       condemnation action, she is not entitled to that remedy by the plain language of the
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       Judgment. See Wildcatt, 69 N.C. App. at 11, 316 S.E.2d at 877 (holding that a trial

       court’s jurisdiction after final judgment is generally limited to enforcing the

       judgment).    Ms. Rubin’s answer and defense in the direct condemnation action

       asserted that the Town’s taking of a 40’ easement to construct a sewer line was

       beyond the constitutional exercise of the Town’s eminent domain powers. The trial

       court agreed, concluded that the taking was unconstitutional, and rendered its

       Judgment declaring null and void both the direct condemnation action and the Town’s

       “quick take” title to the easement. The Judgment, given the issues raised before the

       trial court, did nothing more than that.

¶ 34         We acknowledge that mandatory injunctive relief is available as an ancillary

       remedy to an action resolving title to land. See English v. Holden Beach Realty Corp.,

       41 N.C. App. 1, 13, 254 S.E.2d 223, 234 (1979). But a mandatory injunction is

       available as ancillary relief only if it has been requested while the principal action is

       pending. See Jackson v. Jernigan, 216 N.C. 401, 403-04, 5 S.E.2d 143, 145 (1939)

       (noting mandatory injunctive relief is available as an ancillary remedy to a continuing

       trespass in an action resolving title “to protect the subject of the action against

       destruction or wrongful injury until the legal controversy has been settled” but it is

       unavailable “when it is not in protection of some right being litigated” (emphasis

       added)).     Ms. Rubin failed to seek a mandatory injunction while the direct

       condemnation action was pending. Mandatory injunctive relief falls outside the scope
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       of the Judgment. For this reason, the trial court did not abuse its discretion in

       declining to exercise its inherent authority to enforce the Judgment in the manner

       Ms. Rubin requested.

¶ 35         Ms. Rubin asserts Thornton held that dismissal of a direct condemnation

       action is equivalent to a mandatory injunction requiring restoration of the property

       to its former condition. She misreads Thornton. There, as previously discussed, the

       Commission condemned the Thorntons’ land; though they protested the action by

       asserting it was not for a public purpose, they did not seek to enjoin construction. 271

       N.C. at 229-31, 156 S.E.2d at 250-52. After the road was complete, the trial court

       ruled that the condemnation was not for a public purpose and entered a judgment

       “permanently restraining [the Commission] (and enjoin[ing] [it]) from proceeding

       with the condemnation and appropriation of [the Thorntons’] lands.” Id. at 235, 156

       S.E.2d at 255 (quotation marks omitted). Our Supreme Court struck down the trial

       court’s judgment. Id. at 236, 156 S.E.2d at 255. The Court drew a line between

       injunctive relief to halt construction and injunctive relief to halt a condemnation

       proceeding:

                     An injunction against the institution or maintenance of
                     condemnation proceedings, as distinguished from an
                     injunction to restrain construction, is not proper[l]y issued,
                     however, where the ground asserted therefor is one which
                     the landowner may assert as a defense in the
                     condemnation proceeding itself, for, in that event, the
                     landowner has an adequate remedy at law.
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       Id. (citation omitted). The Supreme Court held that because the Thorntons’ defense

       would mandate dismissal of the direct condemnation proceeding, an injunction

       prohibiting the proceeding from continuing would be redundant.             Id.   Thornton

       establishes that it is unnecessary to enjoin a proceeding that has been extinguished

       by dismissal; Thornton does not hold that dismissal of a condemnation action is

       equivalent to a mandatory injunction to undo the construction and restore the land.

¶ 36          Ms. Rubin further cites prior decisions from this Court, as well as from other

       jurisdictions, to support her assertion that the Judgment directly affords mandatory

       injunctive relief requiring the Town to remove the sewer pipe irrespective of her

       failure to raise the issue in the direct condemnation action. None of the cases she

       cites—with one exception—addresses whether construction completed by the

       condemnor during the pendency of the direct condemnation action must be removed

       if the contesting landowner prevails. See, e.g., Midland, 209 N.C. App. at 213-14, 704

       S.E.2d at 334 (holding a prevailing landowner in a direct condemnation action is

       “entitled to relief . . . in the form of return of title to the land” (emphasis added)); In

       re Rapp, 621 N.W.2d 781, 784 (Minn. 2001) (holding that a prevailing landowner is

       entitled to “relief in the form of the return of his property” notwithstanding the

       government’s completion of construction).

¶ 37          In the one North Carolina decision Ms. Rubin cites in which the trial court
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       issued a mandatory injunction in a direct condemnation action, the landowners

       requested that remedy by counterclaim during the pendency of the action and the

       injunction was not challenged on appeal. City of Statesville v. Roth, 77 N.C. App. 803,

       805-06, 336 S.E.2d 142, 143 (1985). As explained below, our Supreme Court has more

       recently held that such injunctive relief is generally not available against the State.

       See Clark v. Asheville Contracting Co., Inc., 316 N.C. 475, 485-86, 342 S.E.2d 832,

       838 (1986) (holding injunctive relief was unavailable against the Department of

       Transportation for an occupation of private property that was not for a public

       purpose).

¶ 38         We also are unpersuaded by Ms. Rubin’s reliance on N.C. Gen. Stat. §§ 40A-

       12, 1-302, and Rule 70 of the North Carolina Rules of Civil Procedure. N.C. Gen.

       Stat. § 40A-12 provides that “[w]here the procedure for conducting an action under

       this Chapter is not expressly provided for in this Chapter or by the statutes governing

       civil procedure . . . , the judge before whom such proceeding may be pending shall

       have the power to make all the necessary orders and rules of procedure necessary to

       carry into effect the object and intent of this Chapter.” Here, Ms. Rubin seeks more

       than just a procedural ruling; she seeks the additional substantive right to compel

       removal of the Town’s sewer pipe by order of the trial court. As we have explained,

       mandatory injunctive relief is ancillary to—and thus exceeds—the ordinary relief

       afforded by a judgment resolving a dispute as to title. See English, 41 N.C. App. at
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       13, 254 S.E.2d at 234 (noting mandatory injunctive relief is ancillary to an action

       seeking to resolve disputes of title and possession of land).

¶ 39         N.C. Gen. Stat. § 1-302 allows enforcement of “a judgment [that]

       requires . . . the delivery of real . . . property” and Rule 70 allows a trial court to

       order the conveyance of title “[i]f a judgment directs a party to execute a conveyance

       of land[.]” The Judgment in this case does neither. It simply restores title to Ms.

       Rubin. With title in hand, she is left to pursue the “rights [she] may have against

       those who have trespassed upon [her] land and propose to continue to do so.”

       Thornton, 271 N.C. at 240, 156 S.E.2d at 258.

¶ 40         Ms. Rubin further proposes, relying on Thornton, that the Judgment as a

       matter of law established her right to eject the Town by writ of mandamus. While

       mandatory injunctive relief may be available to her through a trespass claim for the

       Town’s continuing encroachment, the Judgment does not provide that relief.            A

       mandatory injunction is available only after “consider[ation] [of] the relative

       convenience-inconvenience and the comparative injuries to the parties.” Clark, 316

       N.C. at 488, 342 S.E.2d at 839 (citation omitted).9 This Court has described that

       balancing test as follows:



             9 This is in contrast to encroachment actions between private landowners; because

       neither party possesses the right to private eminent domain, the trespasser cannot be
       compelled to buy the land she has unlawfully built upon and the injured landowner cannot
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                          Factors to be considered are whether the [trespassing]
                          owner acted in good faith or intentionally built on the
                          [injured party’s] land and whether the hardship incurred
                          in removing the structure is disproportionate to the harm
                          caused by the encroachment. Mere inconvenience and
                          expense are not sufficient to withhold injunctive relief. The
                          relative hardship must be disproportionate.

       Williams, 82 N.C. App. at 384, 346 S.E.2d at 669 (citing Dobbs, Remedies, § 5.6

       (1973)). If Ms. Rubin establishes the Town’s trespass and its liability therefor, the

       trial court may grant mandatory injunctive relief only after weighing the equities as

       set forth above. See Clark, 316 N.C. at 488, 342 S.E.2d at 839.

¶ 41           Because a writ of mandamus is available only to enforce an established right,

       and the Judgment in this case did not establish the right Ms. Rubin seeks to enforce,

       she is not entitled to a writ of mandamus. See Ponder v. Joslin, 262 N.C. 496, 504,

       138 S.E.2d 143, 149 (1964) (“The function of the writ is . . . not to establish a legal

       right . . . .”).

       6. Mandatory Injunctive Relief is Available by Separate Trespass Claim

¶ 42           The Judgment does not provide the Town an easement by inverse

       condemnation as a matter of law. Ms. Rubin cannot be compelled to surrender title

       to the Town. The Judgment also does not afford Ms. Rubin the mandatory injunctive



       be compelled to sell the property encumbered by the encroachment. In such a circumstance,
       mandatory injunctive relief to destroy the encroachment is the only relief available and will
       be awarded as a matter of law. Williams v. South &amp; South Rentals, Inc., 82 N.C. App. 378,
       384, 346 S.E.2d 665, 669 (1986).
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       relief she seeks. The question remains whether the trial court correctly concluded

       that the Judgment precluded mandatory injunctive relief. We hold that the trial

       court erred in this respect.     While Ms. Rubin is not entitled to post-judgment

       mandatory injunctive relief in the direct condemnation action, she may bring a

       trespass claim against the Town in pursuit of the mandatory injunctive relief she

       seeks. We therefore vacate the trial court’s orders insofar as they preclude the

       availability of mandatory injunctive relief, but we ultimately affirm the trial court’s

       denial of Ms. Rubin’s motion to enforce the Judgment.

             a. Caselaw Regarding Remedies for Government Trespass

¶ 43         The proposition that a government body occupying private property outside its

       eminent domain powers is committing a trespass—and may be ejected for it—is not

       a new one. In McDowell v. City of Asheville, 112 N.C. 747, 17 S.E. 537 (1893), our

       Supreme Court held that a town committing such an act “may be treated as a

       trespasser and sued in ejectment.” 112 N.C. at 750, 17 S.E. at 538. The aggrieved

       landowner may also, however, “elect [not] to treat the [town] as a trespasser . . . [and]

       compel the [town] to assess the damages as provided by its charter,” id., effectively

       compelling a payment of just compensation by inverse condemnation. See, e.g., Hoyle,

       276 N.C. at 302, 172 S.E.2d at 8.       This framing of the encroaching town as a

       trespassing tortfeasor and the ability of the landowner to elect damages or ejectment

       is generally consistent with Lloyd v. Venable, 168 N.C. 531, 84 S.E. 855 (1915), in
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       which a town that lacked any eminent domain powers built a street over private land.

       168 N.C. at 534, 84 S.E. at 857. In holding the landowner’s claim for damages could

       proceed, our Supreme Court held that the town’s “entry . . . was . . . unlawful . . . [but]

       the plaintiff can waive the tortious entry and the want of power to condemn, and

       recover a just and reasonable compensation for the property taken.” Id.
¶ 44         In the century since McDowell and Lloyd, our Supreme Court has limited

       monetary and injunctive relief available to private landowners following wrongful

       intrusion by the government.

¶ 45         In State Highway Comm’n v. Batts, 265 N.C. 346, 144 S.E.2d 126 (1965), the

       Commission, on behalf of the State, filed a condemnation action to pursue

       construction of a road across privately owned land and, in preparation for

       construction, cut down several trees on the property. 265 N.C. at 348, 144 S.E.2d at

       127. The private landowners challenged whether the condemnation was for a public

       purpose and counterclaimed for damages to recover the value of the trees cut down

       by the Commission’s employees. Id., 144 S.E.2d at 128. The trial court initially

       entered a preliminary injunction barring construction but ultimately concluded the

       condemnation was for a public purpose. Id. at 349-50, 144 S.E.2d at 129. On appeal,

       the Supreme Court held that the condemnation was not for a public purpose and

       reversed the trial court’s judgment. Id. at 360-61, 144 S.E.2d at 137. It also held,

       however, that the Commission could not be held liable for having cut down the trees:
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                    [The private landowners] alleged that the construction of
                    [the] highway is beyond the scope of the [eminent domain]
                    authority vested in the Commission and inferentially that
                    acts done in furtherance thereof are also unauthorized. We
                    have agreed. Therefore, the cutting of the trees was not a
                    taking of private property for public use. It was merely an
                    unauthorized trespass by employees of the Commission, for
                    which no cause of action exists against the Commission in
                    favor of [the private landowners]. . . . An agency of the
                    State is powerless to exceed the authority conferred upon
                    it, and therefore cannot commit an actionable wrong.

       Id. at 361, 144 S.E.2d at 137-38 (citations omitted) (emphasis added). Batts did not

       address the availability of injunctive relief to bar government intrusion onto private

       property for a non-public purpose.

¶ 46         In Clark v. Asheville Contracting Co., 316 N.C. 475, 342 S.E.2d 832 (1986), our

       Supreme Court held that mandatory injunctive relief cannot be obtained against the

       State following its trespass on private land. 316 N.C. at 485, 342 S.E.2d at 838.

       There, a contractor building a highway near Asheville for the Department of

       Transportation (“DOT”) dumped rock waste in a residential subdivision. 316 N.C. at

       478-79, 342 S.E.2d at 834. The landowners sued DOT, the contractor, and the

       corporate president of the contractor, seeking damages in tort, a mandatory

       injunction ordering the removal of the rock waste and, failing that, just compensation

       for the taking by DOT. Id. All defendants cross-claimed each other and filed motions

       to dismiss and for summary judgment; at the hearing on those motions, the

       landowners elected to forego their claims for monetary damages in favor of an “order
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       that the [DOT] and the contractor remove the waste previously deposited on the

       property in question.” Id. at 482, 342 S.E.2d at 836. The landowners moved for

       summary judgment, and DOT sought to dismiss all claims against it on the grounds

       that it was immune from suit. Id. at 482-83, 342 S.E.2d at 836. The trial court denied

       DOT’s motions and, after hearing evidence, concluded that the dumping of waste was

       a taking for a non-public purpose. Id. It then ordered that the defendants, including

       DOT, “cease and desist, and eliminate the nonconforming use . . . and . . . remove all

       waste rock material placed on the property.” Id. at 483, 342 S.E.2d at 836. DOT

       appealed.

¶ 47         The Supreme Court held that the trial court erred in denying summary

       judgment for DOT. Id. at 484, 342 S.E.2d at 837. No party challenged the trial court’s

       determination that the waste disposal was not for a public purpose, so the Supreme

       Court took that conclusion as true. Id. It then held, citing both Thornton and Batts,

       that the landowners could not pursue their remedy against DOT for the unauthorized

       taking:

                    As the acts the plaintiffs complain of were not for a public
                    purpose, they were beyond the authority of DOT to take
                    property for public use in the exercise of its statutory power
                    of eminent domain. Since DOT as a matter of law is
                    incapable of exceeding its authority, the acts complained of
                    could not be a condemnation and taking of property by DOT
                    or an actionable tort by DOT. At most, the acts complained
                    of could have been unauthorized trespasses by agents of
                    DOT, for which no actionable claim exists against DOT.
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Id. at 485, 342 S.E.2d at 838 (citing Thornton, 271 N.C at 236, 156 S.E.2d at 255;

Batts, 265 N.C. at 361, 144 S.E.2d at 137) (additional citations omitted).            The

Supreme Court held that DOT was immune to claims for both damages and

injunctive relief: “ [‘]The owner of property cannot maintain an action against the

State or any agency of the State in tort for damages to property (except as provided

by statute . . . ). It follows that he cannot maintain an action against it to restrain the

commission of a tort.[’] ” Id. at 486, 342 S.E.2d at 838 (quoting Shingleton v. State,

260 N.C. 451, 458, 133 S.E.2d 183, 188 (1963) (emphasis added)). Consistent with

Thornton and Batts, the Supreme Court held that the aggrieved landowners had a

valid cause of action against the individual public employees and officials responsible

for the unauthorized taking:

              [T]he landowner is not without a remedy. When public
              officers whose duty it is to supervise and direct a State
              agency attempt or threaten to invade the property rights of
              a citizen in disregard of law, they are not relieved of
              responsibility by the immunity of the State from suit, even
              though they act or assume to act under the authority and
              pursuant to the directions of the State.

Id. (quoting Shingleton, 260 N.C. at 458, 133 S.E.2d at 188). The Supreme Court

explained that “the acts of the defendants forming the basis of the claims by the

plaintiffs . . . against DOT must be viewed as not having been a taking for a public

use. Therefore, neither the plaintiffs nor the other defendants could maintain an
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       action against DOT arising from those acts.” Id.10

¶ 48          In sum, Clark holds that private landowners cannot seek mandatory injunctive

       relief against a State agency to restore property following an unauthorized

       encroachment for a non-public purpose. In such instances, it is the individual public

       officials and agents of the State who are personally liable for the illegal acts

       “invad[ing] the property rights of a citizen in disregard of law . . . even though they

       act or assume to act under the authority and pursuant to the directions of the State.”

       Id. (quoting Shingleton, 260 N.C. at 458, 133 S.E.2d at 188).

              b. Applying Precedent to This Case

¶ 49          Batts and Clark are distinguishable from this case because they concern the

       sovereign immunity of state agencies as opposed to municipalities.11 Unlike the



              10 Immunity from suit does not bar inverse condemnation claims filed by landowners

       pursuant to statutory provisions authorizing such actions. See Wilkie, 370 N.C. 540, 551 n.9,
       809 S.E.2d 853, 861 n.9 (holding Clark has no bearing on a statutory inverse condemnation
       claim brought under N.C. Gen. Stat. § 40A-51 because the Court’s decision in Clark did not
       discuss or reference the statute).
              11 Although Clark and Batts do not explicitly label the immunity discussed in those

       decisions as sovereign immunity, the case law cited and rationale provided in those decisions
       are grounded in sovereign immunity law. For example, both Clark and Batts cite Schloss v.
       State Highway &amp; Public Works Comm’n, 230 N.C. 489, 53 S.E.2d 517 (1949) for their holdings
       on immunity, and Schloss begins with the maxim “[t]hat the sovereign may not be sued,
       either in its own courts or elsewhere, without its consent, is an established principle of
       jurisprudence in all civilized nations.” 230 N.C. at 491, 53 S.E.2d at 518 (citations omitted).
       Similarly, the legal fiction espoused in Batts and Clark that a State agency cannot commit a
       tortious act because it is unable to act outside its lawful authority is identical to the
       antiquated fiction that the “king can do no wrong” undergirding sovereign immunity. See
       Epps v. Duke Univ., 122 N.C. App. 198, 203, 468 S.E.2d 846, 850 (1996) (“Sovereign immunity
       extends from feudal England’s theory that the ‘king can do no wrong.’ ” (citation omitted)).
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       State, municipalities enjoy only limited governmental immunity that does not extend

       to propriety functions. Estate of Williams ex rel. Overton v. Pasquotank Cty. Parks &amp;

       Recreation Dep’t, 366 N.C. 195, 199, 732 S.E.2d 137, 141 (2012).

¶ 50         A municipal sewer system that is supported by rates and fees is a propriety

       function not subject to governmental immunity. See, e.g., Harrison v. City of Sanford,

       177 N.C. App. 116, 121, 627 S.E.2d 672, 676 (2006) (“The law is clear in holding that

       the operation and maintenance of a sewer system is a proprietary function where the

       municipality sets rates and charges fees for maintenance of sewer lines.” (citations

       omitted)). The record in this case includes several sections from the Apex Town Code

       of Ordinances—submitted by the Town to the trial court—disclosing that the Town

       does charge rates and fees for its sewer service. On the record before us, we cannot

       conclude that the Town is immune to suit for trespassing.

¶ 51         We further distinguish Batts and Clark based on more recent precedents. Both

       of these decisions were decided years before our Supreme Court’s landmark decision

       in Corum v. Univ. of North Carolina, 330 N.C. 761, 413 S.E.2d 276 (1992), which

       carved out an express exception to sovereign immunity for constitutional injuries.

       Under Corum, “in the absence of an adequate state remedy, one whose state

       constitutional rights have been abridged has a direct claim against the State under

       our Constitution.” Id. at 782, 413 S.E.2d at 289. And, “when there is a clash between

       these constitutional rights and sovereign immunity, the constitutional rights must
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       prevail.” Id. at 786, 413 S.E.2d at 292. Our Supreme Court has since made clear that

       Corum preserves constitutional claims arising out of tortious acts by the State that

       are otherwise barred by sovereign immunity. See Craig ex rel. Craig v. New Hanover

       Cty Bd. of Educ., 363 N.C. 334, 339-40, 678 S.E.2d 351, 355 (2009) (“Plaintiff’s

       common law cause of action for negligence does not provide an adequate remedy at

       state law when governmental immunity stands as an absolute bar to such a claim.

       But as we held in Corum, plaintiff may move forward in the alternative, bringing his

       colorable claims directly under our State Constitution based on the same facts that

       formed the basis for his common law negligence claim.”).

¶ 52         The Town maintains on appeal, as it did before the trial court, that the only

       remedy available to Ms. Rubin is money damages for inverse condemnation. The

       Town relies on McAdoo v. City of Greensboro, 91 N.C. App. 570, 372 S.E.2d 742 (1988).

       In McAdoo, Greensboro widened a road onto private property, and the property

       owners sought damages for trespass and inverse condemnation. 91 N.C. App. at 570-

       71, 372 S.E.2d 742-43. We held that the landowners could not recover monetary

       damages for both trespass and inverse condemnation, as “[t]he exclusive remedy for

       failure to compensate for a ‘taking’ is inverse condemnation[,]” and the landowners

       therefore “ha[d] no common-law right to bring a trespass action against a city.” Id.

       at 573, 372 S.E.2d at 744 (citing Long v. City of Charlotte, 306 N.C. 187, 293 S.E.2d

       101 (1982)) (additional citation omitted) (emphasis added).
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¶ 53         McAdoo is distinguishable for several reasons. Most obviously, that case did

       not involve a taking that was adjudicated to be unconstitutional and for a non-public

       purpose. And unlike the landowners in McAdoo, Ms. Rubin is not seeking to redress

       a “failure to compensate for a ‘taking[,]’ ” id., but has instead elected to pursue

       mandatory injunctive relief to remedy what was already determined to be an

       unconstitutional encroachment.      Cf. Clark, 316 N.C. at 488, 342 S.E.2d at 839
       (holding that private landowners had valid claims only against DOT’s contractor

       where they had “elected to pursue only the remedy of injunctive relief” instead of

       claims for monetary damages, including inverse condemnation); Lloyd, 168 N.C. at

       531, 84 S.E. at 857 (providing a landowner injured by an intrusion onto private

       property not within the power of eminent domain “can waive the tortious entry and

       the want of power to condemn, and recover a just and reasonable compensation for

       the property taken”); McDowell, 112 N.C. at 747, 17 S.E. at 538 (“[I]t may be

       true . . . that the [City of Asheville] . . . may be treated as a trespasser, and sued in

       ejectment, but it is clear that such a remedy would not be appropriate to the peculiar

       circumstances of this case.     [City of Asheville] is still occupying the land as a

       street . . . and the plaintiffs evidently prefer that the street should remain, and

       therefore do not elect to treat [the City] as a trespasser.”        (citation omitted));

       Thornton, 271 N.C. at 241, 156 S.E.2d at 258 (describing Lloyd and McDowell as

       holding “where there is a taking not within the power of eminent domain the
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       landowner may elect to claim damages as if the taking had been lawful . . . .”).

¶ 54         McAdoo held that a claim for damages in trespass did not lie because the

       applicable inverse condemnation statute, N.C. Gen. Stat. § 40A-51, was the exclusive

       remedy. 91 N.C. App. at 573, 372 S.E.2d at 744. But a different statute applies here,

       and the Town’s actions compel a different result. N.C. Gen. Stat. § 136-111 authorizes

       an inverse condemnation claim against a condemnor only when “no complaint and

       declaration of taking has been filed.” Because the Town did file a complaint and

       declaration of taking to install the sewer pipe at issue, a statutory inverse

       condemnation claim was not available to Ms. Rubin.

¶ 55         We also disagree with the Town’s argument, presented in supplemental

       materials filed with this Court, that monetary compensation through an inverse

       condemnation action is a proper and “adequate state remedy” under Corum. As our

       Supreme Court unequivocally held in Thornton, payment for an occupation of private

       land by the State for a non-public purpose does not remedy the constitutional injury:

                    It is not a sufficient answer that the landowner will be paid
                    the full value of his land. It is his and he may not be
                    compelled to accept its value in lieu of it unless it is taken
                    from him for a public use. To take his property without his
                    consent for a non-public use, even though he be paid its full
                    value, is a violation of Article I, s 17, of the Constitution of
                    this State and of the Due Process Clause of the Fourteenth
                    Amendment to the Constitution of the United States.

       271 N.C. at 241, 156 S.E.2d at 259.
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¶ 56         We note that mandatory injunctive relief is not guaranteed by a successful

       claim for trespass against the Town. In Clark, our Supreme Court remanded the

       matter back down to the trial court for further findings of fact that “consider[ed] the

       relative convenience-inconvenience and the comparative injuries to the parties.” 316

       N.C. at 488, 342 S.E.2d at 839. This Court has since enumerated the factors to be

       considered in that balancing test. Williams, 82 N.C. App. at 384, 346 S.E.2d at 669.

       The Town may also have other defenses precluding relief and it “is entitled to all

       defenses that may arise upon the facts and law of the case.” Corum, 330 N.C. at 786,

       413 S.E.2d at 292.

¶ 57         We also do not agree with the Town’s contention that Ms. Rubin’s failure to

       raise mandatory injunctive relief in the direct condemnation action precludes her

       from pursuing it after entry of the Judgment. The mandatory injunctive relief sought

       was not, at the time Ms. Rubin filed her answer, a compulsory counterclaim barred

       by res judicata. See, e.g., Murillo v. Daly, 169 N.C. App. 223, 227, 609 S.E.2d 478,

       481 (2005) (“As the [plaintiffs’] claims were not compulsory counterclaims in the

       previous action, they are not now barred by the doctrine of res judicata.”). Whether

       a counterclaim is mandatory under our Rules of Civil Procedure is determined based

       on its maturity at the time of pleading. See, e.g., Driggers v. Commercial Credit Corp.,

       31 N.C. App. 561, 564-65, 230 S.E.2d 201, 203 (1976) (“Where a cause of action,

       arising out of the transaction or occurrence that is the subject matter of the opposing
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       party’s claim, matures or is acquired by a pleader after he has served his pleading,

       the pleader is not required thereafter to supplement his pleading with a counterclaim.

       . . . [S]uch supplemental pleading is not mandated and failure to do so will not bar

       the claim.” (citations omitted)).

¶ 58         Here, the Town was not a trespasser until: (1) it installed the sewer pipe after

       Ms. Rubin had filed her answer, and; (2) the Judgment extinguishing the Town’s

       right, title, and interest in Ms. Rubin’s land went into effect. 12 Furthermore, the

       sewer pipe represents a continuing trespass, “a peculiar animal in the law. . . . [E]ach

       day the trespass continues a new wrong is committed.” Bishop v. Reinhold, 66 N.C.

       App. 379, 382, 311 S.E.2d 298, 300 (1984); see also John L. Roper Lumber Co. v.

       Elizabeth City Lumber Co., 140 N.C. 437, 442, 53 S.E. 134, 136 (1906) (holding

       recovery for the continuing injury of a trespass action is not barred by res judicata

       unless the claimant failed to establish in the prior action “the unlawful entry, or to

       show his possession, either actual or constructive, of the land upon which he alleges

       the defendant trespassed”).

¶ 59         As for Ms. Rubin’s failure to raise mandatory injunctive relief in the “all other

       issues” hearing required by N.C. Gen. Stat. § 136-108, we note that our Supreme




             12 The Judgment was temporarily stayed by the Supreme Court in the course of the

       Town’s appeals, and the stay was eventually dissolved on 27 March 2019. Town of Apex v.
       Rubin, 372 N.C. 107, 825 S.E.2d 253 (2019).
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       Court in Thornton, which involved a roadway completed during a direct

       condemnation action subject to an “all other issues” hearing under the same statute,

       held that the Thorntons, who never sought to enjoin construction, could continue to

       claim ownership “free of any right of way” and pursue relief “against those who have

       trespassed upon their land and propose to continue to do so” if they prevailed. 271

       N.C. at 238, 240, 156 S.E.2d at 257, 258 (emphasis added).

¶ 60         Like the Thorntons—had they prevailed—Ms. Rubin is entitled to relief

       against the Town for its trespass following the trial court Judgment dismissing the

       condemnation action and the exhaustion of the Town’s appeal rights. Given the

       nature of a continuing trespass, and Thornton’s holding on the continued availability

       of trespass actions, Ms. Rubin may seek injunctive relief for the continuing trespass

       that the Town refuses to abate. Id. at 240, 156 S.E.2d at 258.

¶ 61         Finally, as noted by the parties at oral argument, this case presents a unique

       circumstance involving the continued use of a sewer line, installed pursuant to a

       direct condemnation action, that was determined to be for a non-public purpose and

       in violation of the landowner’s constitutional rights.   This case therefore differs

       significantly from those addressed by the inverse condemnation statutes N.C. Gen.

       Stat. §§ 136-111 and 40A-51, both of which apply when no condemnation action was

       filed by the government. We limit our holding to cases in which a municipality filed

       a direct condemnation action, constructed an improvement on the protesting
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       landowner’s property, and later lost the condemnation action on the ground that it

       was for a non-public purpose. We do not address instances in which a taking occurred

       without the filing of a direct condemnation action.

                                    III.     CONCLUSION

¶ 62         For the foregoing reasons, we vacate the provisions of the trial court’s order

       denying Ms. Rubin’s motion to enforce the Judgment that declared: (1) the Town took

       title to an easement by inverse condemnation; (2) the Judgment was moot; and (3)

       the Judgment was void. However, because the Judgment itself does not establish a

       right to mandatory injunctive relief and is instead available only through a separate

       claim against the Town upon a balancing of the equities, we affirm the trial court’s

       denial of that relief.   The trial court’s order granting the Town relief from the

       Judgment is reversed.

             VACATED IN PART; AFFIRMED IN PART; REVERSED IN PART.

             Judges DILLON and JACKSON concur.
